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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA


Peakspeed, Inc.                       Civil File No. 0:20-cv-01630-JRT-BRT

                   Plaintiff,           Defendant’s Opposition to
                                         Peakspeed’s Motion to
v.                                        Compel Production of
                                              Source Code
Timothy Emerson,

                    Defendant.
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                            I. Introduction

      Peakspeed’s Motion to Compel the TrueView source code that

EmersonAI copyrighted should be denied for two reasons. First, Peakspeed

has not served a timely request for production seeking the TrueView source

code that EmersonAI copyrighted. Second, Peakspeed’s motion is moot

since Defendant has offered to allow an inspection of the source code

Peakspeed seeks.

                               II. Argument

A. Peakspeed has not served a timely request for the TrueView source
   code that EmersonAI copyrighted.

      Peakspeed is asking the Court to compel the production of the “full

version of the TrueView code that Defendant registered on July 8, 2020.” 1

Peakspeed has identified the four requests for production reproduced below

as seeking this information:

    Peakspeed’s First Set of RFPs     Peakspeed’s Second Set of RFPs
    Request No. 1: Native files of    Request No. 1: All documents that
    any versions of the CPU and       refer or relate to the Copyright
    FPGA-source code for              registration of any work authored by
    TrueView that You contend You     you, including, but not limited to,
    created on or before December     “OrthoTop” (Registration No.
    31, 2019.                         TXu002205218 / 2020-07-08).

                                      Request No. 2: All communications
                                      that refer or relate to the Copyright
                                      registration of any work authored by


1   Dkt. 52 at 4.
                                     1
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                                     you, including, but not limited to,
                                     “OrthoTop” (Registration No.
                                     TXu002205218 / 2020-07-08).

                                     Request No. 3: All documents
                                     submitted to the United States
                                     Copyright Office relating to the
                                     registration of “OrthoTop”
                                     (Registration No. TXu002205218 /
                                     2020-07-08) including, but not limited
                                     to, the application and deposit.


      The Court should deny Peakspeed’s request to compel the information

because (1) three of the four requests are not ripe since Defendant served

them less than 30 days ago and (2) no documents exist that are responsive to

the remaining request for production.

      First, the three requests from Peakspeed’s Second Set of Requests for

Production are not ripe since Defendant’s 30-day deadline to respond to

them is October 19, 2020. Peakspeed served its Second Set of Requests for

Production on September 17, 2020 at 11:21 p.m. This is 39 minutes before

the deadline to complete the discovery authorized by Chief Judge Tunheim. 2




Defendant could not possibly complete production of the requested

documents in that time. As a result, these requests should not be considered



2   Dkt. 19.
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served until the Rule 26(f ) conference. Fed. R. Civ. P. 26(d)(2)(B)

(“The request is considered to have been served at the first Rule 26(f )

conference.”). But even if they were properly served on September 17,

2020, Defendant’s 30-day deadline to respond in writing would be October

19, 2020. Fed. R. Civ. P. 34(b)(2). And this 30-day period may only be

modified by a Court order or stipulation, neither of which has occurred. Id.

Accordingly, Peakspeed’s Second Requests for Production are not yet ripe

and cannot be compelled.

      Second, no documents responsive to Peakspeed’s remaining request for

production exist. Peakspeed’s last request seeks “Native files of any

versions of the CPU and FPGA-source code for TrueView that You contend

You created on or before December 31, 2019.” 3 But the TrueView source

code has been continuously iterated upon by Mr. Emerson from early 2019

through the present. 4 As a result, versions of the TrueView source code that

pre-date December 31, 2019, as Peakspeed requested, do not exist. The

Court cannot compel Defendant to create (or recreate) the TrueView source

code as it existed on or before December 31, 2019 to satisfy Peakspeed’s

discovery request. See, e.g., Lamar Advertising of South Dakota, Inc. v. Kay,

CIV. 07-5091-KES, 2010 WL 758786, at *13 (D.S.D. Mar. 1, 2010) (“[T]he


3   Dkt. 52 at 2.
4   Dkt. 35-1: Emerson Depo. at 101:24-103:9
                                   3
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court cannot order parties to create or produce new documents in order to

respond to an opposing party's discovery request.”).

      Accordingly, the Court should deny Peakspeed’s motion to compel.

B. Peakspeed’s Motion to Compel is moot since Defendant has agreed
   to allow an inspection of the TrueView source code.

      Additionally, Peakspeed’s motion to compel should also be denied as

moot since Defendant has agreed to allow Peakspeed to inspect the

TrueView source code copyrighted by EmersonAI. 5 Under Rule

34(b)(2)(B), Peakspeed is permitted to make documents available for

inspection rather than producing them. Fed. R. Civ. P. 34 (“For each item

or category, the response must either state that inspection and related

activities will be permitted as requested or state with specificity the grounds

for objecting to the request, including the reasons. The responding party

may state that it will produce copies of documents or of electronically stored

information instead of permitting inspection.”) (emphasis added).

C. The TrueView source code is EmeronAI’s most valuable trade secret
   that cannot be produced without additional protections.

      For EmersonAI, and other companies that develop software, source

code is often the most valuable and most sensitive information they

possess. 6 Developing source code requires a substantial investment of time,



5   Dkt. 53-6.
6   Dkt. 34 at ¶ 7.
                                    4
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money, and resources, and the TrueView source code embodies more than a

year of Timothy Emerson’s work. 7 The TrueView source code has never

been made available to the public.

      The protection of source code is particularly difficult because source

code, if misappropriated or inadvertently disclosed, can spread easily in

today’s internet-based society, with dramatic consequences. The value of

source code depends, at least in part, on it not being generally known, so any

disclosure will effectively wipe out the author’s substantial investment and

is truly irreparable in nature. The genie cannot be put back in the bottle.

      Because source code is so sensitive, courts generally allow it to be made

available for inspection on a non-networked computer. This is reflected in

numerous model protective orders, such as the Model Protective Order for

the Northern District of California. 8 This is what Defendant has proposed.

                             III. Conclusion

      Peakspeed has not served any requests that seek the source code it asks

to be compelled and its motion is moot since Defendant has agreed to make

the source code it seeks available for inspection. Accordingly, Peakspeed’s

motion to compel should be denied.




7   Dkt. 24 at ¶¶ 8-88, 113; Dkt. 35-1 at 97:5-103:9.
8   Ex. 1 (https://www.cand.uscourts.gov/forms/model-protective-orders/).
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